"New Bern, 24th July, 1798.
"SIR: — I received your note and should have no objection to your continuing to have the management of repairing the jail, if with propriety such a thing could be done; on examining the Act of Assembly under which the treasurer holds his office, I find that he alone is answerable for the proper disposition of the moneys, and for the sufficiency of the repairs. He, of course, cannot delegate his authority to any other person. I must therefore insist that you pay over to me the amount of the moneys in your hands, before the ensuing Court, to be held for Craven County, otherwise I shall then move for judgment to be entered up against you agreeable to Act of Assembly, for the amount and interest up to that time.
"I am, your obedient servant,
WILLIAM SHEPHARD."
"To Isaac Guion, Esq."
"July 26th, 1798, this day delivered Isaac Guion, Esq., a notice of which this is a true copy.
"WILLIAM DUDLEY, Dep. Sheriff." *Page 218 
On motion of the plaintiff's attorney, judgment was entered up against Isaac Guion for the moneys in his hands as late treasurer, with interest. The defendant prayed and was allowed a writ of error, returnable to the March Term of New Bern Superior Court, 1799; and on the second day of April, 1799, being the 13th day of the term of March, 1799; Edward Graham,Esq., attorney for plaintiff in error, assigned error the following words, to wit: "The want of trial by jury," and the Court ordered the following entry to be made on the minutes and records of the Court for that day, to wit, "the second day of April, 1799, being the 13th day of March Term, 1799.
(255)                         "Isaac Guion
"v.
"William Shephard, Treasurer, etc.
"Writ of Error. Errors assigned by the plaintiff in error this day, saving all objections of the defendant."
And now the question was, at what time ought the plaintiff in error to file his assignment of errors.
Errors should be assigned and filed with the proceedings at the time by law pointed out for filing them with the clerk of the Superior Court. I am therefore of the opinion that the writ of error be dismissed.